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 4   Attorney for Defendant
     JIMMIE PERRYMAN
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 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                           No. 2:08-CR-0197 GEB
11                                 Plaintiff,            STIPULATION AND [PROPOSED]
                                                         ORDER TO CONTINUE STATUS
12          vs.                                          CONFERENCE, AND TO EXCLUDE
                                                         TIME PURSUANT TO THE SPEEDY
13   JIMMIE PERRYMAN,                                    TRIAL ACT
14                                 Defendant.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Todd Leras, Assistant United States Attorney, attorney for plaintiff, and
18   Michael E. Hansen, attorney for defendant Jimmie Perryman, that the previously-scheduled
19   status conference date of February 10, 2012, be vacated and the matter set for status conference
20   on March 9, 2012, at 9:00 a.m..
21          This continuance is requested to allow counsel additional time to review discovery with
22   the defendant, to examine possible defenses and to continue investigating the facts of the case.
23   Also, the status conference for co-defendant Jimmie Griffen is currently scheduled for
24   March 9, 2012.
25          The Government concurs with this request.
26          Further, the parties agree and stipulate the ends of justice served by the granting of such
27   a continuance outweigh the best interests of the public and the defendant in a speedy trial and
28   that time within which the trial of this case must be commenced under the Speedy Trial Act


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 1   should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to
 2   Local Code T-4 (to allow defense counsel time to prepare), from the date of the parties’
 3   stipulation, February 8, 2012, to and including March 9, 2012.
 4           Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 5           IT IS SO STIPULATED.
 6   Dated: February 8, 2012                               Respectfully submitted,
 7                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
 8                                                         Attorney for Defendant
                                                           JIMMIE PERRYMAN
 9
     Dated: February 8, 2012                               BENJAMIN B. WAGNER
10                                                         United States Attorney
11                                                         By: /s/ Michael E. Hansen for
                                                           TODD LERAS
12                                                         Assistant U.S. Attorney
                                                           Attorney for Plaintiff
13
14                                       [PROPOSED] ORDER
15           The Court, having received, read, and considered the stipulation of the parties, and
16   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
17   Based on the stipulation of the parties and the recitation of facts contained therein, the Court
18   finds that it is unreasonable to expect adequate preparation for pretrial proceedings and trial
19   itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
20   specifically finds that the failure to grant a continuance in this case would deny defense
21   counsel to this stipulation reasonable time necessary for effective preparation, taking into
22   account the exercise of due diligence. The Court finds that the ends of justice to be served by
23   granting the requested continuance outweigh the best interests of the public and the defendants
24   in a speedy trial.
25           The Court orders that the time from the date of the parties’ stipulation, February 8,
26   2012, to and including March 9, 2012, shall be excluded from computation of time within
27   which the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18
28   U.S.C. section 3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for defense counsel to


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 1   prepare). It is further ordered that the February 10, 2012, status conference shall be continued
 2   until March 9, 2012, at 9:00 a.m.
 3          IT IS SO ORDERED.
 4          Date: 2/8/2012
 5
 6                                                            _________________________
                                                              GARLAND E. BURRELL, JR.
 7                                                            United States District Judge
 8          DEAC_Signature-END:




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     Stipulation and [Proposed] Order to Continue Status Conference
